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 1 Leila Nourani (SBN 163336)
   Damien P. DeLaney (SBN 246476)
 2 Matthew Weber (SBN 318097)
   Susan M. Corcoran (Admitted Pro Hac Vice)
 3
   JACKSON LEWIS P.C.
 4 725 South Figueroa Street, Suite 2500
   Los Angeles, California 90017-5408
 5 Telephone: (213) 689-0404
   Facsimile: (213) 689-0430
 6 leila.nourani@jacksonlewis.com
   caroline.wolf@jacksonlewis.com
 7
   Attorneys for Defendant
 8 EATON CORPORATION
 9                                UNITED STATES DISTRICT COURT
10                               CENTRAL DISTRICT OF CALIFORNIA
11
   MICHAEL IMAMURA, individually and                 Case No. 2:18-cv-03886-DSF-KLS
12 on behalf of all others similarly situated,
                                                     JOINT STIPULATION REQUESTING
13                  Plaintiff,                       CONTINUANCE OF INITIAL
                                                     SCHEDULING CONFERENCE AND
14           vs.                                     EXTENSION OF TIME FOR CLASS
                                                     CERTIFICATION RESPONSES
15 EATON CORPORATION, an Ohio
   corporation,
16
                Defendants.
17
18
             TO THE COURT AND ALL PARTIES:
19
             WHEREAS, Plaintiff Michael Imamura filed a class action complaint on May 9,
20
      2018, which Defendant Eaton Corporation (“Eaton”) timely answered on June 6, 2018; and
21
             WHEREAS, since the filing of the complaint, the Parties have exchanged
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      information and engaged in settlement discussions in good faith with the intent of promptly
23
      resolving this dispute; and
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      ///
25
      ///
26
      ///
27
      ///
28
       CASE NO. 2:18-cv-03886-DSF-KLS                  JOINT STIPULATION REQUESTING CONTINUANCE
                                                 1         OF INITIAL SCHEDULING CONFERENCE AND
                                                       EXTENSION OF TIME FOR CLASS CERTIFICATION
                                                                                      RESPONSES
     Case 2:18-cv-03886-DSF-KS Document 30 Filed 08/31/18 Page 2 of 3 Page ID #:159


 1          WHEREAS, the Parties’ discussions have been productive, but are on-going and
 2    have not yet resolved the dispute; and
 3          WHEREAS, the Parties anticipate reaching an agreement on terms to settle the
 4    dispute within the next 30 to 60 days; and
 5          WHEREAS, the Court has set an initial scheduling conference for Monday,
 6    September 10, 2018 at 11:00 a.m., and ordered the parties to file a Joint Rule 26(f) Report
 7    14 days prior; and
 8          WHEREAS, the Parties wish to focus their efforts on resolving the dispute and to
 9    avoid work which will become unnecessary if the case is resolved; and
10          WHEREAS, the Parties have made no prior requests for continuance
11          IT IS THEREFORE STIPULATED, by and between the Parties that:
12          1.     The Parties request that the Court continue the initial scheduling conference
13    from Monday, September 10, 2018 to Monday, October 15, 2018, or the next date
14    thereafter convenient to the Court. If the case is not resolved earlier, the Parties agree to
15    meet and confer on the topics required by Rule 26(f) by no later than September 24, 2018,
16    and to file a joint report by no later than October 1, 2018.
17          2.     The Parties request that the Court set the following deadlines for class
18    certification motions:
19                    a. Defendant’s opposition to Plaintiff’s motion for class certification due
20                         on January 31, 2019; and
21                    b. Plaintiff’s reply to Defendant’s opposition to Plaintiff’s motion for
22                         class certification due on March 15, 2019.
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///
       CASE NO. 2:18-cv-03886-DSF-KLS              2     JOINT STIPULATION REQUESTING CONTINUANCE
                                                             OF INITIAL SCHEDULING CONFERENCE AND
                                                         EXTENSION OF TIME FOR CLASS CERTIFICATION
                                                                                        RESPONSES
     Case 2:18-cv-03886-DSF-KS Document 30 Filed 08/31/18 Page 3 of 3 Page ID #:160


 1             3.       The Parties request that the Court schedule a hearing regarding class
 2    certification for April 15, 2019, at 1:30 p.m.
 3             IT IS SO STIPULATED.
 4    DATED: August 31, 2018                  JACKSON LEWIS P.C.
 5
 6
                                              By:       /s/ Damien P. DeLaney
 7                                                      Leila Nourani
                                                        Damien P. DeLaney
 8                                                      Matthew Weber
                                                        Susan M.Corcoran
 9
                                                        Attorneys for Defendant
10                                                      EATON CORPORATION
11
12
13
      DATED: August 31, 2018                  WOODROW & PELUSO, LLC
14
15
16                                            By:       /s/ Patrick H. Peluso
                                                        Steven L. Woodrow
17                                                      Patrick H. Peluso
                                                        Taylor T. Smith
18
                                                        Attorneys for Plaintiffs
19                                                      MICHAEL IMAMURA, individually and
                                                        on behalf of all others similarly situated
20
21
      4817-7391-4481, v. 1
22
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24
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       CASE NO. 2:18-cv-03886-DSF-KLS               3       JOINT STIPULATION REQUESTING CONTINUANCE
                                                                OF INITIAL SCHEDULING CONFERENCE AND
                                                            EXTENSION OF TIME FOR CLASS CERTIFICATION
                                                                                           RESPONSES
